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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 ASHTON ORR, et al.,
                                                     Case No. 1:25-cv-10313-JEK
                               Plaintiffs,
                      v.

 DONALD J. TRUMP, et al.,

                               Defendants.


                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs hereby move the

Court for an order certifying the following classes in accordance with Federal Rule of Civil

Procedure 23(b)(2):

   1. A class of all people who currently want, or in the future will want, a U.S. passport issued

       with an “F” or “M” sex designation that is different from the sex assigned to that individual

       under the Passport Policy (“M/F Designation Class”); and

   2. A class of all people who currently want, or in the future will want, a U.S. passport and

       wish to use an “X” sex designation (“X Designation Class”); except

   3. No person who is a plaintiff in Schlacter, et al. v. U.S. Department of State, et al., 1:25-cv-

       01344 (D. Md. filed Apr. 25, 2025), currently pending before the United States District

       Court for the District of Maryland, is included in either class, as requested by the Schlacter

       plaintiffs’ counsel.

ECF No. 76 ¶ 273.

       Plaintiffs respectfully request that the Court appoint: (1) Plaintiffs Ashton Orr, Zaya

Perysian, Chastain Anderson, Drew Hall, Bella Boe, Reid Solomon-Lane, Viktor Agatha, David

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Doe, AC Goldberg, and Chelle LeBlanc as representatives of the M/F Designation Class;

(2) Plaintiffs Sawyer Soe and Ray Gorlin as representatives of the X Designation Class; and (3) the

undersigned as class counsel pursuant to Rule 23(g).

       This Motion is supported by the attached Memorandum of Law and the Declarations of

Isaac D. Chaput, Jon W. Davidson, Jessie J. Rossman, Ashton Orr, Zaya Perysian, Sawyer Soe,

David Doe, AC Goldberg, Chastain Anderson, Drew Hall, Bella Boe, Reid Solomon-Lane, Viktor

Agatha, Ray Gorlin, Chelle LeBlanc, Sarah D. Corathers, MD, and Ayden Scheim, PhD filed

concurrently herewith.

                            REQUEST FOR ORAL ARGUMENT

       Plaintiffs respectfully request an oral argument on this Motion.




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April 30, 2025                           Respectfully submitted,

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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        I, Isaac D. Chaput, hereby certify that in accordance with Local Rule 7.1(a)(2), counsel

for Plaintiffs communicated via email on April 28, 2025, with counsel at the Department of

Justice, Elizabeth Layendecker, who indicated that Defendants oppose this motion.


                                                              /s/ Isaac D. Chaput
                                                              Isaac D. Chaput




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2025, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to counsel of record.


                                                              /s/ Isaac D. Chaput
                                                              Isaac D. Chaput




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